                   Case 8:17-cv-02222 Document 1 Filed 12/20/17 Page 1 of 16 Page ID #:1




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    12
               [Additional Counsel Appear on Signature Page]
    13
    14
    15                            UNITED STATES DISTRICT COURT
    16
                                CENTRAL DISTRICT OF CALIFORNIA
    17
    18
    19          DAVID KACUR, and all similarly           Case No.: 8:17-cv-2222
    20          situated individuals,
                                                         CLASS ACTION COMPLAINT
    21                       Plaintiff,
    22                                                   JURY TRIAL DEMANDED
                vs.
    23
    24          ALTERYX, INC.,

    25                       Defendant.
    26
    27
    28

class action
                                           CLASS ACTION COMPLAINT
                   Case 8:17-cv-02222 Document 1 Filed 12/20/17 Page 2 of 16 Page ID #:2




        1                               JURISDICTION AND VENUE
        2            1.     This Court has federal question jurisdiction because this case arises
        3      out of violations of federal law, specifically the Fair Credit Reporting Act, 15
        4      U.S.C. §§ 1681-1681(x) (“FCRA”). 28 U.S.C. § 1331; Smith v. Community
        5      Lending, Inc., 773 F. Supp. 2d 941, 946 (D. Nev. 2011).
        6            2.     This Court has supplemental jurisdiction to hear all state law claims
        7      under Ohio state law pursuant to 28 U.S.C. § 1367.
        8            3.     This Court also has subject matter jurisdiction over this action under
        9      the Class Action Fairness Act, 28 U.S.C. § 1332(d)(2) because the amount in
    10         controversy exceeds $5 million exclusive of interest and costs, there are more than
    11         100 putative class members, and at least some members of the proposed Class
    12         have different citizenship than Alteryx.
    13               4.     Venue is proper in the United States District Court for the Central
    14         District for the State of California pursuant to 28 U.S.C. § 1391(b)(1) and/or (b)(3)
    15         as Defendant's principal place of business is in this District and also because the
    16         Defendant's conduct giving rise to this action occurred in this District.
    17                                              PARTIES
    18               5.     Plaintiff David Kacur (“Plaintiff”) is a natural person residing in the
    19         County of Cuyahoga, State of Ohio.
    20               6.     Plaintiff and all putative Class members are “consumers” as that term
    21         is defined by 15 U.S.C. § 1681a(c). Additionally, Plaintiff and all members of the
    22         Ohio Subclass are “consumers” or “persons” as those terms are defined in ORC
    23         1345.01, et seq.
    24               7.     Defendant Alteryx, Inc. (“Alteryx”) is a Delaware corporation with
    25         its principal place of business in Irvine, California. Alteryx does business in the
    26         State of California and Ohio, as it derives information from Ohio and California
    27         consumers which it uses to create its data analytics products.
    28               8.     Defendant Alteryx regularly assembles and/or evaluates consumer
                                                          -1-

class action
                                             CLASS ACTION COMPLAINT
                   Case 8:17-cv-02222 Document 1 Filed 12/20/17 Page 3 of 16 Page ID #:3




        1      credit information for the purpose of furnishing consumer reports to third parties
        2      in the form of data analytics products, and uses interstate commerce to prepare
        3      and/or furnish the reports. Alteryx is a “consumer reporting agency” as that term
        4      is defined by 15 U.S.C. § 1681a(f).
        5            9.     Unless otherwise indicated, the use of Alteryx’s name in this
        6      Complaint includes all agents, employees, officers, members, directors, heirs,
        7      successors, assigns, principals, trustees, sureties, subrogees, representatives, and
        8      insurers of Alteryx.
        9                                 FACTUAL ALLEGATIONS
    10          Alteryx Exposes the PII of 123 Million U.S. Households to Prospective Identity
    11                                                Thieves
    12               10.    Alteryx describes itself as “The Leader in Self-Service Data
    13         Analytics.”1 Part of Alteryx’s business includes maintaining a software platform,
    14         which “enables organizations to dramatically improve business outcomes and the
    15         productivity of their business analysts.”2
    16               11.    One of Alteryx’s business partners is Experian Marketing Services
    17         (“Experian Marketing”). Alteryx claims it assists Experian to “improve the
    18         quality and value of its commercial services,” which include to “drive down costs
    19         and raise the efficiency of our data delivery infrastructure.”3
    20               12.    On information and belief, Alteryx obtains or obtained at least some
    21         of the data used to perform and provide its data analytics services from Experian
    22         Information Solutions, Inc. (“Experian”), particularly information contained in
    23
               1
    24                 Alteryx, About us, available at https://www.alteryx.com/about-us (last
               visited
               2
                       Dec. 19, 2017).
    25                 Alteryx, Inc. Feb. 24, 2017 Form S-1 Registration Statement, at 2, United
               States Securities and Exchange Comm’n, available at
    26         https://www.sec.gov/Archives/edgar/data/1689923/000119312517056475/d28207
               1ds1.htm (last visited Dec. 19, 2017).
               3
    27                 Alteryx, Alteryx Helps Experian Marketing Services Reduce Delivery Time
               for Client-Ready Output by 70 Percent, available at:
    28         https://www.alteryx.com/sites/default/files/resources/files/case-study-experian.pdf
               (last visited Dec. 19, 2017).
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class action
                                              CLASS ACTION COMPLAINT
                   Case 8:17-cv-02222 Document 1 Filed 12/20/17 Page 4 of 16 Page ID #:4




        1      Experian’s “ConsumerView” marketing database. Experian describes
        2      ConsumerView as “the world’s largest consumer database,” which contains
        3      “thousands of attributes on more than 300 million consumers and 126 million
        4      households.”4 The data available through ConsumerView includes, but is not
        5      limited to consumer (1) age, (2) gender, (3) marital status, (4) presence of
        6      children, (5) family status and position, (6) location, (7) homeowner status, (8)
        7      education, and (9) occupation.5 This information constituted personally
        8      identifiable information (“PII”).
        9            13.    Alteryx actively markets and sells data analytics products to third
    10         parties which use PII from Experian. Specifically, Alteryx claims that by
    11         “combining the data blending and advanced analytics of Alteryx with the
    12         demographic and behavioral data from Experian, you can append unprecedented
    13         insight about your customers and prospects, as well as monitor the changing
    14         dynamics of households over time.”6 In particular, Alteryx markets the “Experian
    15         ConsumerView household file,” which contains “consumer demographics, life
    16         event, direct response, property, and mortgage information for more than 235
    17         million consumers and 113 million households.”7 According to Alteryx this data
    18         can be analyzed at the individual level, permitting consumers to “analyze potential
    19         consumers based on marital status, gender, education, and occupation group.”8
    20         Alteryx promises that, “Armed with current and five-year projections on lifestyle,
    21         attitude, brand preference, media use, and more, you can accurately predict
    22         customer demand today, tomorrow, and in the long term.”9
    23
               4
    24                 See Experian, ConsumerView, available at
               https://www.experian.com/assets/dataselect/brochures/consumerview.pdf (last
    25         visited
               5
                       Dec. 19, 2017).
               6
                       See id.
    26                 Alteryx, Experian Marketing Services, available at:
               https://www.alteryx.com/partners/experian-marketing-services (last visited Dec.
    27         19,
               7
                   2017).
               8
                       Id.
    28         9
                       Id.
                       Id.
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class action
                                             CLASS ACTION COMPLAINT
                    Case 8:17-cv-02222 Document 1 Filed 12/20/17 Page 5 of 16 Page ID #:5




        1             14.   At some point over the last four years, Alteryx placed files created as
        2      early as 2013—which contained 248 data fields for each of the more than 123
        3      million American households affected, providing detailed insight on topics
        4      ranging from interest in sports to financial information—in an Amazon Web
        5      Services S3cloud storage bucket. That bucket’s permission settings allowed for
        6      any user with a free Amazon AWS account to access the sensitive consumer PII
        7      contained within. This translated to over a million specified users with access to
        8      the contents of the bucket.10
        9             15.   On October 6, 2017, an employee of UpGuard, a cyber-security firm,
    10         discovered that Amazon Web Services S3cloud storage bucket located in the
    11         subdomain “alteryxdownload.”
    12                16.   Among the files in the bucket was one entitled,
    13         “ConsumerView_10_2013.yxdb.” On information and belief, this was an
    14         Experian ConsumerView product from October of 2013, and the file extension
    15         was an Alteryx database file format used for large data set analytics. The file
    16         contained 123 million rows, each signifying a different American household.11 In
    17         each row, 248 columns cross-indexed contained highly detailed information
    18         regarding the household addresses, phone numbers, number of adults and children
    19         living in the dwelling unit, length of residence, along with highly granulated
    20         consumer-purchasing data – in sum, sufficient PII for an identity thief to recreate
    21         not only a person’s identity, but also their lifestyle.12 This information, which was
    22         comprised of “the essential details of a core of American households.” For
    23         example, this data could be cross-referenced with a voter registration database to
    24
    25
    26         10
                    Dan O’Sullivan, Home Economics: How Life in 123 Million American
    27         Households Was Exposed Online, UpGuard, available at:
               https://www.upguard.com/breaches/cloud-leak-alteryx
               11
                                                                   (last visited Dec. 20, 2017).
    28         12
                       Id.
                       Id.
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class action
                                               CLASS ACTION COMPLAINT
                    Case 8:17-cv-02222 Document 1 Filed 12/20/17 Page 6 of 16 Page ID #:6




        1      procure essential details about individual consumers.13
        2             17.   On December 19, 2017, UpGuard published its findings regarding
        3      investigation of the publicly available data in the storage bucket, which were
        4      quickly reported by news organizations later that day.14
        5             18.   For the Plaintiff, as with all potential Class members, these news
        6      stories were the first time that they had been informed by Alteryx that their
        7      information secured by Alteryx had been compromised.
        8             19.   PII is highly valuable information, as evidenced by the recent,
        9      massive, data breach of the credit-reporting agency Equifax, in which more than
    10         143 million people had their personal data exposed.15 The Equifax breach was an
    11         unavoidable story in 2017 (not to mention other recent high profile data breaches
    12         of companies such as Yahoo and Sonic), which undoubtedly did, or should have,
    13         put Alteryx on notice as to how important it is to take adequate measures to
    14         protect consumers’ PII. The cavalier manner with which Alteryx ultimately
    15         handled such sensitive information evinces a failure to adequately protect
    16         consumers’ PII from a reasonably foreseeable threat.
    17                20.   Plaintiff, individually and on behalf of those similarly situated, brings
    18         this action to challenge the actions of Alteryx in the protection and safekeeping of
    19         the Plaintiff’s and Class members’ personal information. Alteryx’s failures to
    20         safeguard consumer PII has damaged Plaintiff and Class members.
    21
    22         13
                       Thomas Fox-Brewster, 120 Million American Households Exposed in
    23         “Massive ConsumerView Database Leak, Forbes, available at:
               https://www.forbes.com/sites/thomasbrewster/2017/12/19/120m-american-
    24         households-exposed-in-massive-consumerview-database-leak/#384c64f17961
               (last
               14
                     visited Dec. 19, 2017).
    25                 See id.; see also Ryan Grenoble, Alteryx Data Breach Exposes Information
               On 123 Million American Households, Huffington Post, Dec. 19, 2017, available
    26         at https://www.huffingtonpost.com/entry/alteryx-data-breach-123-million-
               households_us_5a39316ae4b0860bf4ab4e24
               15
                                                             (last visited Dec. 19, 2017).
    27               Lily Newman, Equifax Officially Has No Excuse, Wired, available at:
               https://www.wired.com/story/equifax-breach-no-excuse (last visited Dec. 20,
    28         2017).
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class action
                                             CLASS ACTION COMPLAINT
                   Case 8:17-cv-02222 Document 1 Filed 12/20/17 Page 7 of 16 Page ID #:7




        1                            Alteryx’s Conduct Violated the FCRA.
        2            21.    The United States Congress enacted the Fair Credit Reporting Act, 15
        3      U.S.C. § 1681, et seq. (“FCRA”), to insure fair and accurate credit reporting,
        4      promote efficiency in the banking system, and, as most relevant to this Complaint,
        5      protect consumer privacy. The FCRA imposes duties on the CRAs to protect
        6      consumer's sensitive personal information.
        7            22.    The FCRA protects consumers through a tightly wound set of
        8      procedural protections from the material risk of harms that otherwise follow from
        9      the compromise of a consumer's sensitive personal information. Through these
    10         protections, Congress recognized a consumer's substantive right to protection from
    11         damage to reputation, shame, mortification, and emotional distress that naturally
    12         follows from the compromise of a person's identity.
    13               23.    Central to the FCRA’s privacy protections are restrictions on consumer
    14         reporting agencies, or CRAs. A CRA is a person or entity “which, for monetary
    15         fees, dues, or on a cooperative nonprofit basis, regularly engages in whole or in part
    16         in the practice of assembling or evaluating consumer credit information or other
    17         information on consumers for the purpose of furnishing consumer reports to third
    18         parties, and which uses any means or facility of interstate commerce for the purpose
    19         of preparing or furnishing consumer reports.”
    20               24.    Alteryx is a “consumer reporting agency” (“CRA”) within the
    21         cognizance of 15 U.S.C. § 1681a(f) because it acquires and assembles a
    22         consumer’s PII in commercial transactions, i.e., for use in its data analytics
    23         products, after Alteryx first acquires the consumer PII data from Experian.
    24               25.    A central duty that the FCRA imposes upon CRAs is the duty to
    25         protect the consumer’s privacy by guarding against inappropriate disclosure to
    26         third parties. 15 U.S.C. § 1681b codifies this duty, and permits a CRA to disclose
    27         a consumer’s information only for one of a handful of exclusively defined
    28         “permissible purposes.” To ensure compliance, CRAs must maintain reasonable
                                                         -6-

class action
                                             CLASS ACTION COMPLAINT
                   Case 8:17-cv-02222 Document 1 Filed 12/20/17 Page 8 of 16 Page ID #:8




        1      procedures to ensure that such third party disclosures are made exclusively for
        2      permissible purposes. 15 U.S.C. § 1681e(a).
        3             26.    The FCRA defines “consumer report” broadly, as “any written, oral,
        4      or other communication of any information by a CRA bearing on a consumer’s
        5      credit worthiness, credit standing, credit capacity, character, general reputation,
        6      personal characteristics, or mode of living which is used or expected to be used or
        7      collected in whole or in part for the purpose of serving as a factor in establishing
        8      the consumer’s eligibility for (A) credit or insurance to be used primarily for
        9      personal, family, or household purposes; (B) employment purposes; or (C) any
    10         other purpose authorized under section 1681b of this title.” 15 U.S.C. § 1681a(d).
    11         Under this broad definition, a consumer’s PII qualifies as a “consumer report.”
    12                27.    Alteryx failed to properly safeguard the information of Plaintiff and
    13         Class members, as required under 15 U.S.C. § 1681e(a). Alteryx failed to take the
    14         necessary precautions required to safeguard and protect Plaintiff and Class
    15         members’ PII from unauthorized disclosure, as their PII was improperly handled
    16         and stored. Therefore, on information and belief, the PII of Plaintiff and Class
    17         members was exposed to an unnecessarily high risk of access from identity thieves
    18         and others with no right to access the data.
    19             Alteryx’s Conduct Also Violates the Ohio Consumer Sales Practices Act
    20
    21                28.    Defendant’s violations of 15 U.S.C. § 1681e(a), as outlined above,
    22         also “relat[ed] to the sale . . . of goods or services,” i.e., the data-driven
    23         transactions Alteryx entered into with third parties which included Plaintiff and
    24         Class members’ PII implicate the Plaintiff in the data breach.
    25                29.    Alteryx has a duty to protect the Plaintiff and Class members' PII.
    26                30.    Thus, Alteryx's conduct violates ORC 1345.02(A) as an unfair or
    27         deceptive act in connection with a consumer transaction.
    28
                                                           -7-

class action
                                               CLASS ACTION COMPLAINT
                     Case 8:17-cv-02222 Document 1 Filed 12/20/17 Page 9 of 16 Page ID #:9




        1      Harms Suffered by Plaintiff and Class Members as a Result of the Data Breach.
        2               31.   By failing to establish reasonable procedures to safeguard individual
        3      consumer’s private information, Alteryx deprived consumers nationwide from a
        4      benefit conferred on them by Congress under 15 U.S.C. § 1681e(b), which, now
        5      lost, cannot be reclaimed.
        6               32.   The harm to Plaintiff and Class members was complete at the time
        7      the unauthorized breaches occurred, as the unauthorized disclosure and
        8      dissemination of private credit information causes harm in and of itself.
        9               33.   Moreover, there is a high likelihood that significant identity theft and
    10         fraud has not yet been discovered or reported, and that Plaintiff and Class
    11         members’ PII will be offered for sale or actually sold in “dark web” marketplaces.
    12         This will result in ongoing harm to Plaintiff and members of the Class as data
    13         thieves invariably seek to utilize the PII, or seek to re-sell it. Thus, Alteryx’s
    14         wrongful disclosure of Plaintiff and Class members’ PII placed them in an
    15         imminent, immediate, and continuing risk of harm for identity theft and identity
    16         fraud.
    17                  34.   Plaintiff and Class members have additionally been harmed as they
    18         have (1) been forced to take steps to protect against unauthorized disclosures of
    19         their PII, and (2) incurred, intend to incur, and/or considered incurring the cost of
    20         obtaining identity protection products.
    21                  35.   Plaintiff and Class members have been obligated to retain an attorney
    22         to prosecute this case, and are entitled to an award of reasonable attorney’s fees
    23         and costs.
    24                                       CLASS ALLEGATIONS
    25                  36.   Plaintiff brings this action pursuant to 15 U.S.C. § 1681e(a), on
    26         behalf of a nationwide class of all similarly situated individuals (“Class”), defined
    27         as:
    28
                                                          -8-

class action
                                               CLASS ACTION COMPLAINT
                 Case 8:17-cv-02222 Document 1 Filed 12/20/17 Page 10 of 16 Page ID #:10




        1                   All persons in the United States for whom Alteryx stored
                            private, personal information that was released as a
        2
                            result of the Alteryx data breach disclosed in December
        3                   2017.
        4
                            Excluded from the Class are: (1) Defendant, Defendant’s
        5                   agents, subsidiaries, parents, successors, predecessors,
                            and any entity in which Defendant or its parents have a
        6
                            controlling interest, and those entities’ current and
        7                   former employees, officers, and directors; (2) the Judge
                            to whom this case is assigned and the Judge’s immediate
        8
                            family; (3) any person who executes and files a timely
        9                   request for exclusion from the Class; (4) any persons
    10                      who have had their claims in this matter finally
                            adjudicated and/or otherwise released; and (5) the legal
    11                      representatives, successors and assigns of any such
    12                      excluded person.

    13               37.    Plaintiff also brings this action pursuant to on behalf of a subclass of
    14         all similarly situated individuals in Ohio (“Subclass”), defined as:
    15                      All persons in Ohio for whom Alteryx stored private
    16                      personal information that was released as a result of the
                            Alteryx data breach disclosed in December 2017.
    17
    18                      Excluded from the Subclass are: (1) Defendant,
                            Defendant’s agents, subsidiaries, parents, successors,
    19                      predecessors, and any entity in which Defendant or its
    20                      parents have a controlling interest, and those entities’
                            current and former employees, officers, and directors;
    21                      (2) the Judge to whom this case is assigned and the
    22                      Judge’s immediate family; (3) any person who executes
                            and files a timely request for exclusion from the Class;
    23                      (4) any persons who have had their claims in this matter
    24                      finally adjudicated and/or otherwise released; and (5) the
                            legal representatives, successors and assigns of any such
    25                      excluded person.
    26
    27               38.    At this time, Plaintiff does not know the size of the Class because the

    28         information is exclusively in the possession of the Defendant, but Plaintiff
                                                        -9-

class action
                                             CLASS ACTION COMPLAINT
                  Case 8:17-cv-02222 Document 1 Filed 12/20/17 Page 11 of 16 Page ID #:11




        1      believes that the potential number of Class members is so numerous that joinder
        2      would be impracticable. It has been reported that the Class could consist of over
        3      123 million households. The number of Class members can be determined
        4      through discovery, particularly investigation of Alteryx’s internal records.
        5            39.     All members of the Class have been subject to and affected by a
        6      uniform course of conduct in that all Class members' personal information was
        7      compromised during the data breach. These are questions of law and fact
        8      common to the proposed Class that predominate over any individual questions.
        9      The questions common to all Class and/or Subclass members include, but are not
    10         limited to:
    11
                             a.    Whether Alteryx had implemented reasonable procedures to
    12                             ensure that all third parties who accessed Plaintiff’s and Class
    13                             members’ private credit information did so for a permissible
                                   purpose;
    14
                             b.    Whether Alteryx engaged in consumer fraud in violation of
    15
                                   NRS 598.0923(3) with respect to Plaintiff and Subclass
    16                             members;
    17                       c.    Whether Plaintiff and Class members suffered damages as a
    18                             result of Alteryx’s failure to comply with FCRA and NRS
                                   41.600 based on the improper dissemination of their credit
    19                             information as a result of the data breach;
    20
                             d.    Whether Plaintiff and Class members are entitled to statutory
    21                             damages; and
    22                       e.    Whether Plaintiff and Class members are entitled to punitive
    23                             damages.
    24               40.     Plaintiff’s claims are typical of the class, as Plaintiff’s PII was
    25         compromised during the data breach. All claims are based on the same legal and
    26         factual issues.
    27               41.     Plaintiff will adequately represent the interests of the class and does
    28         not have an adverse interest to the class. If individual Class members prosecuted
                                                          -10-

class action
                                               CLASS ACTION COMPLAINT
                  Case 8:17-cv-02222 Document 1 Filed 12/20/17 Page 12 of 16 Page ID #:12




        1      separate actions it may create a risk of inconsistent or varying judgments that
        2      would establish incompatible standards of conduct. A class action is the superior
        3      method for the quick and efficient adjudication of this controversy. Plaintiff’s
        4      counsel has experience litigating consumer class actions.
        5            42.    Further, under Fed. R. Civ. Pro. 23(a), Defendant acted on grounds
        6      generally applicable to the proposed Class, making appropriate final declaratory
        7      and injunctive relief with respect to the proposed Subclass as a whole.
        8                  COUNT ONE: VIOLATION OF 15 U.S.C. § 1681, et al.
        9                              Plaintiff and the Class

    10               43.    The Plaintiff restates all allegations contained in Paragraphs 1
    11         through 42 as if fully restated herein.
    12               44.    This Count is brought on behalf of the nationwide Class.
    13               45.    Based upon Alteryx’s failure to have reasonable procedures in place
    14         as required by 15 U.S.C. § 1681e(a), Plaintiff’s PII was compromised.
    15               46.    As a result of each and every willful violation of FCRA, Plaintiff and
    16         Class members are entitled to: actual damages, pursuant to 15 U.S.C. §
    17         1681n(a)(1); statutory damages, pursuant to 15 U.S.C. § 1681n(a)(1); punitive
    18         damages, as this Court may allow, pursuant to 15 U.S.C. 1681n(a)(2); and
    19         reasonable attorneys’ fees and costs pursuant to 15 U.S.C. § 1681n(a)(3).
    20               47.    As a result of each and every negligent non-compliance of the FCRA,
    21         Plaintiff and Class members are also entitled to actual damages, pursuant to 15
    22         U.S.C. § 1681o(a)(1); and reasonable attorney’s fees and costs pursuant to 15
    23         U.S.C. § 1681o(a)(2) from Defendant.
    24                          COUNT TWO: VIOLATION OF NRS 41.600
    25                              Plaintiff and the Ohio Subclass
    26               48.    The Plaintiff restates all allegations contained in Paragraphs 1
    27         through 42 as if fully rewritten herein.
    28
                                                          -11-

class action
                                              CLASS ACTION COMPLAINT
                  Case 8:17-cv-02222 Document 1 Filed 12/20/17 Page 13 of 16 Page ID #:13




        1            49.      This Count is brought on behalf of the Plaintiff and the Ohio
        2      Subclass.
        3            50.      Plaintiff and the putative Subclass are individually “consumers”
        4      within the meaning of O.R.C. 1345.01(D).
        5            51.      As detailed above, supra, Alteryx engaged in unfair and unlawful
        6      acts and practices by failing to maintain adequate procedures to avoid a data
        7      breach and permitting access to consumer reports by data thieves, for whom
        8      Alteryx had no reasonable grounds to believe the data would be used for a proper
        9      purchase. Plaintiff and Subclass members relied on Alteryx's implied promise of
    10         data security.
    11               52.      Alteryx's conduct violates ORC 1345.02(A) as an unfair or deceptive
    12         act in connection with a consumer transaction.
    13               53.      Alteryx engaged in an unfair practice by engaging in conduct that is
    14         contrary to public policy, unscrupulous, and caused injury to Plaintiff and
    15         Subclass members.
    16               54.      As a direct and proximate result of the foregoing, Plaintiff and
    17         Subclass members have suffered injuries including, but not limited to actual
    18         damages, and in being denied a direct benefit conferred on them by the Ohio
    19         legislature.
    20               55.      As a result of the violations of Alteryx, Plaintiff and Subclass
    21         members are entitled to an award of actual damages, statutory damages, as well as
    22         an award of reasonable attorney's fees.
    23               56.      As a result of the violations of Alteryx, Plaintiff and Subclass
    24         members are also entitled to a declaration pursuant to ORC 1345.01(D) that
    25         Alteryx conduct in permitting the data breach failed to meet the PCI DSS
    26         standards.
    27
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                                                          -12-

class action
                                               CLASS ACTION COMPLAINT
                  Case 8:17-cv-02222 Document 1 Filed 12/20/17 Page 14 of 16 Page ID #:14




        1                                 COUNT THREE: Negligence
                                         Plaintiff and the Ohio Subclass
        2
        3             57.   The Plaintiff restates all allegations contained in Paragraphs 1
        4      through 42 as if full restated herein.
        5             58.   This Count is brought on behalf of the Plaintiff and Ohio subclass.
        6             59.   Alteryx negligently breached its duty of care to Plaintiff and Class
        7      members by failing to uncover and remedy the known risks which led to the data
        8      breach, thereby leading to the dissemination of Plaintiff and Subclass members’
        9      PII.
    10                60.   Additionally, Alteryx failed to inform Plaintiff and Subclass members
    11         of this heightened risk of harm.
    12                61.   Plaintiff and Subclass members suffered damages as a result of
    13         Alteryx’s breach of its duty of care, and are entitled to an award of actual and
    14         punitive damages, as well as an award of reasonable attorney’s fees.
    15                                       PRAYER FOR RELIEF
    16                WHEREFORE, Plaintiff DAVID KACUR individually and on behalf of the
    17         Class, respectfully requests the following relief against Defendant ALTERYX,
    18         INC.
    19                A.    For an award of actual damages against Alteryx for all allegations
    20                      contained in Count One, Count Two, and Count Three;
    21                B.    For an award of statutory damages pursuant to 15 U.S.C.
    22                      §1681n(a)(1) against Alteryx for the allegations contained in Count
    23                      One for each eligible Class member and the Plaintiff;
    24                C.    For an award of punitive damages against Alteryx as the Court may
    25                      allow for the allegations contained in Count One pursuant to 15
    26                      U.S.C. 1681n(a)(2), and Count Three under Ohio law;
    27                D.    For an award of the costs of litigation and reasonable attorneys' fees
    28                      pursuant to 15 U.S.C. §1681n(a)(3) and 15 U.S.C. §1681o(a)(2)
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class action
                                              CLASS ACTION COMPLAINT
                 Case 8:17-cv-02222 Document 1 Filed 12/20/17 Page 15 of 16 Page ID #:15




        1                  against Defendant for each incident of noncompliance of FCRA
        2                  alleged in Count One, under ORC 1345.02(A) as alleged in Count
        3                  Two, and under Ohio law alleged in Count Three;
        4            E.    For appropriate equitable declaratory and injunctive relief for the
        5                  allegations contained in Count Two pursuant to ORC 1345.01(D) and
        6            F.    For all other relief this Court may deem just and proper.
        7                               DEMAND FOR JURY TRIAL
        8            Plaintiff hereby requests a trial by jury on all appropriate issues raised in
        9      this Complaint.
    10
    11         DATED: December 20, 2017                GREEN & NOBLIN, P.C.
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    13
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    25                                                 -and-
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class action
                                             CLASS ACTION COMPLAINT
               Case 8:17-cv-02222 Document 1 Filed 12/20/17 Page 16 of 16 Page ID #:16




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    21                                          Pro Hac Vice Applications to be submitted
    22
                                               Attorneys for Plaintiff: DAVID KACUR and
    23                                         proposed class
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class action
                                       CLASS ACTION COMPLAINT
